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(uss)
UNITED STATES DISTRICT COURT -7 m §
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for

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WESTERN DISTRICT OF TENNESSEE

 

JANIE H. CARTER Docket No. 1:01CR10068-002

Petition on Probation and Supervised Release

 

COMES NOW Bobby E. Appleton , PROBATION OFFICER OF THE COURT
presenting an official report upon the conduct and attitude of Janie H. Carter who was placed on
supervision by the Honorable J ames D. Todd sitting in the Court at Jackson TN , on the M day
of March , 2003 , who fixed the period of supervision at three 131 years , and imposed the

general terms and conditions theretofore adopted by the court and also imposed special conditions and terms as follows.'

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the Probation Ojicer for
treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection of substance use or abuse
Further, the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
reasonable by the Probation Ojjicer.

RESPECTFULLY PRESENTING PE'I`ITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(lf short insert here; iflengthy write on separate sheet and attach)

SEE ATTACHED MEMORANDUM.

PRAYING 'I`HAT THE COURT WILL ORDER the immediate issuance afa Supervised Release Violation Warrant.

 

 

 
 

ORDER OF COURT Respectfully,
C red and ordered this 2?Day M_W
of , 2005, and ordered filed Bobby E. Applet
and ade apart of the records in the above U.S. Probation Oj?cer

Place' .]aClCS'Ot’t TN

w b M pate .- nine 15, 2005

M‘Ionorable James D. Todd,
Chier.S. District Judge

 

This document entered on the docket sheet In compliance

with nule 55 andtor 32(1)) FRch on __li€_§_“]_@;.§_ 3

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 143 in
case 1:01-CR-10068 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

